CaS€ 8-16-74455-&8'[ DOC 82 Filed 04/26/18 Entered 04/26/18 11226:33

Fill in this information to identify your case:

 

 

 

1 CLE`F»\£\ m c
Debrm ANTHONY T. nose u_ 5 ama HUP~YCY C_~‘?¥.° ~}
FirslName Middle Name LastName EAST€Q i\{ ‘ {_U\i§_l R_§C i \:'i :;
Debtor2 ` ' :`* .$
(SpOUSe, iffili\'\g) FilstNeme Middle Name Last Name
i; ’ l
United States Bankruptcy Courtforthe: Eastern District of New York 2318 f.\pi:i 2b )[‘>'\ `\ 3- C
case number 16_74455 El check if this is an
(|f known)

 

    

en dearan

 

Ofiicia| Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

|f you are an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or
l you have leased personal property and the lease has not expired.

You must tile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the fonn.

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

 

Be as complete and accurate as possible. |f more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Claims
1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Offlcial Form 1060), fill in the
" information below.

v :ldentify t_he creditorand the propertythat is collateral; 1 What do you intend to do with the property that D|d you claim the property 1

' _ - . ' i, ,' _ ' " -. - secures adebt? _ _ _ _ Las exempt on Schedule C?;. "
1 Creditor’s l §
_ name_ BANK O_|_: AMER|CA_ _N__A_ n Surrender the property. - g No ,
,_ "'"" ' " ' "' ' ' ”""""' """" m Retain the property and redeem it. n Yes '1_'
: :;;:]r{);'on of 5801 ROCK SPR|NGS RD- l:l Retain the property and enter into a 1
i_' securing debt LlTHON|A, GA 30038 Reaffilmation Agreement. §

l:l Retain the property and [explain]: 1

 

 

 

 

 
      

Creditor's . t
name___ B_sl FINANClAL SERV|CES n Su"e"de' the p'°pe'ty' w N°
" ' "" w Retain the property and redeem it. n Yes §
§ E;;c::?;lon of 20 |NGRAHAM LANE El Retain the property and enter into a _;
`; Securing deth HENIPSTEAD, NY 1 1550 Reaffinnation Agreement. f
§ \;l Retain the property and [explain]:
_ Creditor's _ , . d S . n Surrender the property. q NO
1 name: n 1
f "`""`" ` _ _ "“` m Retain the property and redeem it. n Yes §
E;:::_§;lon of 6236 Katelyn Park cl Retain the property and enter into a :
securing debt: Lithonia, GA 30058 Reaffilmation Agreement. 1_

cl Retain the property and [explain]:

 

 

. c d't r ' '
i 11§:1$.-° s JP MORGAN cHAsE BANK NA n S“"e"de'"‘e °'°pe“y' m N° z
§ ` " m Retain the property and redeem it. E| Yes
D;s(;n:;lon cf 6433 PARKWAY TRACE n Retain the property and enter into a `;
1 guian debt LlTHON|A, GA 30058 Reaffinnation Agreement.

» n Retain the property and [explain]:

 

Ofticia| Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

CaS€ 8-16-74455-&8'[ DOC 82 Filed 04/26/18 Entered 04/26/18 11226:33

Debtor1 ANTHONY T- ROSS ease number (lf;mown) 16'74455

Flrst Name Middle Name Last Name

 

m List Your unexpired Personal Property Leases

-. For any unexpired personal property lease that you ||sted' ln Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
f ll m the information below. Do not list real estate leases. Unexpired leases are leases that are still ln effect; the lease period has not yet
§ ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U. S. C. § 365(p)(2).

   

 

‘ lJescribe your unexpired personal property leases 4 ` § ' ~ ' ‘ Will the.lease be ass'umed? `
Lessor’s name: m No l
; ... … . a .,l . cl Yes §
§ Descriptlon of leased ’

property:
§ Lessor’s name: m No

   

 

 

 

z l a Yes
3 Description of leased

§ property:

§ Lessor’s name: [| No
Description of leased m Yes
§ property:

Lessor’s name: E| No
_..4.~.»“~. -,_-.~\.._,.m..‘.,. ~_….. ,,.,..,W`,.\ ., …..,.`.<,.,..~.,..w,.`.,_,\.. `..,, ._»..e` ',.`.`_.,.M___. ….4..... . \,- … ,,_,.4__\..,, . . : .~ ....~,.-.\~`,.,.._,..,,,., -< . -…W….,. n Yes
§ Description of leased

.5 property:

' Lessor’s name: L_.l No

     

W-.~ .' .,.,,,.“,.. . ,...,…,M … . .. .…-4..‘.» ...…~ ,,.-.., . n Yes
Description of leased

 

     

 

property:
Lessor’s name: n No §
.._...... ...…"_ ,- - - m n _ s m ves` z
` Descn`ptlon of leased
‘ property:
Lessor’s name: n No
- .. . `_ …,. ». n Yes
Description of leased ' §
property:

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that ls subject to an unexpired lease.

X

Signature of Debtor 2

  
 

 

Signature of Debtor

Date___________
MM/ DD/ YYYY

Oflicial Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

